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CO 109A - Rev, 3/2010

UNITED STATES DISTRICT AND BANKRUPTCY COURTS
FOR THE DISTRICT OF COLUMBIA

RUBY FREEMAN et al

)
)
VS. ) Civil . 21-CV-3354 (BAH)
)
RUDOLPH W. GIULIANI )
FILED
DEC 14 2023
NOTE FROM JURY Clerk. U.S. District & Bankruptcy

Courts for the District of Columbia

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